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 1                                                                 THE HONORABLE __________
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11
12
13                               UNITED STATES DISTRICT COURT
14                              WESTERN DISTRICT OF WASHINGTON
15                                        AT SEATTLE
16
17
18   DOMAIN NAME COMMISSION                          No. __________
19   LIMITED,
20                                                   COMPLAINT FOR INJUNCTIVE RELIEF
21                          Plaintiff,               AND DAMAGES
22
23          v.
24
25   DOMAINTOOLS, LLC,
26
27                          Defendant.
28
29
30
31          In and for its Complaint for Injunctive Relief and Damages, plaintiff Domain Name
32
33   Commission Limited (“DNCL”) alleges as follows:
34
35                                       I.    INTRODUCTION
36
37          1.       DNCL brings this action to stop Defendant DomainTools, LLC (“DomainTools”),
38
39   from misusing .nz domain name registration information in violation of the Terms of Use for
40
41   such information and applicable law, and from infringing the privacy of the individuals who
42
43   register .nz domain names.
44
45          2.       DNCL is a non-profit organization, based in New Zealand, that has been
46
47   appointed by InternetNZ to develop and monitor a competitive registrar market, as well as create
48
49   a fair environment for the registration and management of .nz domain names. In that capacity,
50
51   DNCL is responsible for, among other things, authorizing and de-authorizing .nz domain name
                                                                                    Perkins Coie LLP
     COMPLAINT (NO. __________) – 1                                            1201 Third Avenue, Suite 4900
                                                                                 Seattle, WA 98101-3099
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 1   registrars, administering the .nz Dispute Resolution Service, and—of particular import to this
 2
 3   matter—enforcing .nz policies and regulating use of the .nz WHOIS service, which provides
 4
 5   information about domain names ending in “.nz”. DNCL, in conjunction with InternetNZ,
 6
 7   provides the service subject to specific Terms of Use (“TOU”), which are designed to (1) protect
 8
 9   the privacy of the registrants who license .nz domains by preventing their registration
10
11   information from being harvested in bulk; (2) provide individual registrants with control over
12
13   their own registration information by prohibiting the retention and publication of historical
14
15   WHOIS records, which may contain personal information that registrants later change or choose
16
17   to withhold from the public; and (3) protect the integrity and accessibility of the .nz WHOIS
18
19   servers. Additionally, since November 2017, DNCL has offered individual registrants who do
20
21   not conduct significant trade using their.nz domain names the opportunity to withhold their
22
23   detailed contact information from the public through the .nz WHOIS service. Thousands of
24
25   individuals have taken this opportunity to protect their privacy.
26
27          3.       DomainTools’s activities undermine the protections that DNCL promises to
28
29   provide to .nz registrants and violate the TOU governing use of the .nz WHOIS service. The
30
31   products and services that DomainTools offers to its customers are built on practices that infringe
32
33   .nz registrants’ privacy rights and expectations by harvesting their registration information in
34
35   bulk from the registry where it is maintained; using high-volume queries and technical measures
36
37   designed to evade the restrictions that protect .nz WHOIS servers against that form of abuse; and
38
39   storing and retaining registrant data, including detailed personal contact information, even after
40
41   the registrant has chosen to withhold their data from the registry. These activities cause
42
43   irreparable harm to DNCL’s reputation and integrity, divert resources from DNCL’s mission,
44
45   interfere with its contractual relationships with .nz domain name registrars, and harm the
46
47   goodwill DNCL receives from individual registrants of .nz domain names.
48
49
50
51
                                                                                       Perkins Coie LLP
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 1                                           II.    THE PARTIES
 2
 3           4.       DNCL is a non-profit entity that is registered in New Zealand as a charitable
 4
 5   organization and a Limited Liability Company. DNCL’s sole shareholder is Internet New
 6
 7   Zealand Incorporated (“InternetNZ”), a non-profit incorporated society established to protect,
 8
 9   promote, and foster the development of the Internet in New Zealand.
10
11           5.       Upon information and belief, Defendant DomainTools is a Delaware limited
12
13   liability company with its principal place of business located in Seattle, Washington. Upon
14
15   information and belief, Defendant DomainTools is a wholly owned subsidiary of Domain Tools
16
17   Holdings, SARL, which is registered in Luxembourg and which is the sole member of
18
19   DomainTools, LLC.
20
21                                 III.      JURISDICTION AND VENUE
22
23           6.       This Court has jurisdiction of this action on the following bases:
24
25                    a.     Under 28 U.S.C. § 1331, because this action alleges violations of the
26
27                           federal Computer Fraud and Abuse Act, 18 U.S.C. § 1030.
28
29                    b.     Under the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367,
30
31                           because the claims alleged under state law are so related to claims in this
32
33                           action over which this Court has original jurisdiction that they form part of
34
35                           the same case or controversy under Article III of the United States
36
37                           Constitution.
38
39           7.       This Court has personal jurisdiction over DomainTools because it resides and
40
41   does business in this district, in that it maintains its principal place of business in Seattle,
42
43   Washington.
44
45           8.       Venue is proper in this District under 28 U.S.C. § 1391 in that DomainTools
46
47   maintains its principal place of business in Seattle, Washington, and as such resides in this
48
49   district; a substantial part of the events or omissions giving rise to DNC’s claims occurred in this
50
51   district; and DomainTools is subject to personal jurisdiction in this district.
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 1                                  IV.     FACTUAL BACKGROUND
 2
 3   A.     Domain Name Background and Terminology
 4
 5          9.       An Internet user typically accesses a website by opening a web browser, clicking
 6
 7   on the navigation bar, and entering a Uniform Resource Locator (“URL”). For example, the
 8
 9   URL for DNCL’s website is “http://www.dnc.org.nz”. As the user browses on DNCL’s website,
10
11   he or she will be directed to various other URLs, such as “http://www.dnc.org.nz/irpo” or
12
13   “http://www.dnc.org.nz/story/policy”.
14
15          10.      A domain name is a string of characters that is used to locate a web site on the
16
17   Internet. Domain names were developed because they are easier for Internet users to remember
18
19   than the numerical IP addresses the Internet actually uses to route traffic. When an Internet user
20
21   enters a domain name into a browser, for example, the browser consults the Domain Name
22
23   System (“DNS”), which looks up the numerical IP address that corresponds to the domain name.
24
25   Underlying network protocols then use the IP address to locate and identify computer services
26
27   and devices operated by individuals or organizations on the Internet. Domain names are most
28
29   commonly used in URLs or email addresses. For example, “dnc.org.nz” is the domain name in
30
31   the URL for DNCL’s website on the Internet described in Paragraph 9 above, and in associated
32
33   email addresses, such as info@dnc.org.nz.
34
35          11.      Domain names are split into multiple pieces. Each piece is separated by a period
36
37   and is part of a hierarchical structure of domain name identifiers.
38
39          12.      A top-level domain (“TLD”) is at the highest level in the DNS hierarchy, and is
40
41   represented by the portion of the domain name to the right of the last period (i.e., “.nz” in the
42
43   domain name “dnc.org.nz”).
44
45          13.      A country code TLD (“ccTLD”) is a specific kind of TLD that is specifically
46
47   designated for a particular country, sovereign state, or other territory to use to service its
48
49   community. ccTLDs are assigned using the two-level country codes defined by the International
50
51   Organization for Standardization to represent countries, dependent territories, and special areas
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 1   of geographical interest. In particular, the country code in a ccTLD indicates the country that
 2
 3   administers and sets policies regarding domain name registration for that ccTLD. ccTLDs are
 4
 5   held in trust for the local Internet community of the country they represent by a designated
 6
 7   manager appointed by that community. The ccTLD for New Zealand is “.nz” and its designated
 8
 9   manager is InternetNZ.
10
11            14.   The “second-level domain” is the piece of the domain name at the second highest
12
13   level in the DNS hierarchy (i.e., “.org” in the domain name “dnc.org.nz”). Similar to ccTLDs for
14
15   many countries other than the United States and Canada, second-level domains for .nz frequently
16
17   indicate the core purpose of a website. For example, a “.org.nz” website serves an organizational
18
19   purpose; a “.gov.nz” website serves a governmental purpose; and a “.co.nz” website serves a
20
21   commercial purpose.
22
23            15.   The domain “identifier” is chosen by the individual or organization who can be
24
25   located through the domain name (i.e., “dnc” in the domain name “dnc.org.nz”).
26
27            16.   The Internet Corporation for Assigned Names and Numbers (“ICANN”) is a non-
28
29   profit organization responsible for coordinating and maintaining the Internet’s unique identifiers,
30
31   including domain names, TLDs, and ccTLDs.
32
33            17.   A registrant is an individual, company, or organization that registers and manages
34
35   a domain name on the Internet. Domain names are licensed to registrants.
36
37            18.   A domain registry is the organization that manages TLDs and their infrastructure.
38
39   A domain registry’s responsibilities typically include creating domain name extensions,
40
41   developing the policy framework for the domain, and keeping the definitive register of domain
42
43   names.
44
45            19.   A registrar is an organization, accredited by ICANN, that acts as a middle-man
46
47   between a registry and registrants, in that it has the authority to issue domain licenses from
48
49   registries to registrants. Registrars manage domain names on behalf of registrants.
50
51
                                                                                       Perkins Coie LLP
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 1            20.   Registrars and registries are required by their contracts with ICANN to operate a
 2
 3   service called WHOIS, which allows the public to search for and obtain information about
 4
 5   registered domains. The data returned by the WHOIS service typically includes (1) information
 6
 7   about the domain (e.g., the date it was registered or last modified, its status, and its expiration);
 8
 9   (2) information about the registrar (e.g., its name and contact information); and (3) information
10
11   about the registrant (e.g., the name and contact information of the organization or individual
12
13   currently managing the domain name).
14
15   B.       Operation and Organization of the .nz Domain Name Space
16
17            21.   InternetNZ was established in 1995 for the purpose of managing the .nz ccTLD
18
19   and was appointed to be the designated manager for the .nz ccTLD by the local Internet
20
21   community of New Zealand in 1996. As designated manager for the .nz domain, InternetNZ has
22
23   a duty to manage the .nz ccTLD in service to the local internet community. Among other
24
25   responsibilities, InternetNZ operates the registry for .nz, meaning it keeps the definitive register
26
27   of .nz domain names and is responsible for the policy framework relating to the .nz domain name
28
29   space.
30
31            22.   ICANN has formally recognized InternetNZ as the sole authority for the
32
33   administration and management of .nz domain names. There are currently over 700,000
34
35   registered .nz domain names, a tiny fraction of the well over 330 million domain names across
36
37   the world and all TLDs.
38
39            23.   InternetNZ established DNCL as its wholly-owned subsidiary in 2007. DNCL’s
40
41   organizational mission is to develop, monitor, and oversee a competitive registrar market and to
42
43   create a fair environment for the registration and management of .nz domain names. InternetNZ
44
45   appointed DNCL to manage and administer the .nz domain name space under the terms of an
46
47   Operating Agreement between the entities dated April 1, 2008.
48
49            24.   Under these agreements, DNCL performs several functions, including overseeing
50
51   the registration and management of .nz domain names, authorizing registrars, managing the
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 1   operation of the .nz domain name space and the agreements and policies that underpin it,
 2
 3   monitoring activity in and regulating the use of the .nz domain name space, administering a
 4
 5   dispute resolution service for disputes between .nz domain name registrants, and representing the
 6
 7   .nz domain name space in international fora. In sum, DNCL has sole authority for administration
 8
 9   and management of .nz domain names on behalf of the people and businesses of New Zealand
10
11   and other .nz registrants.
12
13          25.     InternetNZ issues policies which govern the operation and regulation of the .nz
14
15   domain name space, and DNCL is responsible for enforcing these policies. The Operations and
16
17   Procedures policy sets out the operations and procedures that apply to the running of the .nz
18
19   domain name space. They must be followed by all participants in the .nz domain name space. A
20
21   copy of the Operations and Procedures policy is attached as Exhibit 1 to this Complaint.
22
23          26.     To request a .nz domain name, an individual or organization must provide certain
24
25   information to a registrar, including the potential registrant’s name, contact details (email
26
27   address, physical address, and contact phone number), administrative and technical contacts, and
28
29   other information. The registrar is responsible for ensuring the domain name is available, that
30
31   mandatory information has been provided, and that the information provided is in the correct
32
33   format where appropriate (e.g., domain name or email address). The registrar then accesses the
34
35   .nz register to enroll and maintain the domain name on behalf of the registrant.
36
37          27.     After the registration is added to the .nz register, domain name registration
38
39   information becomes available through the WHOIS service. As a result, that information is
40
41   frequently referred to as “WHOIS data” or “WHOIS information.”
42
43   C.     Terms of Use Governing the .nz WHOIS Service
44
45          28.     WHOIS information for the .nz domain name space can be accessed via three
46
47   avenues: (1) the DNCL website; (2) the .nz Port 43 service; and (3) registrars who have special
48
49   access to the .nz WHOIS service via SRS xml or EPP xml lookups (these are authenticated
50
51   requests made against registry systems which only authorized .nz registrars can use). Although
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 1   .nz WHOIS information is available through other sources, for example, through registrars or
 2
 3   third-parties like DomainTools, those sources must ultimately use one of these three avenues.
 4
 5            29.   DNCL has made a deliberate policy decision to allow the public to obtain WHOIS
 6
 7   data for .nz domain names only by searching a specific domain name, with exceptions only in
 8
 9   limited circumstances when DNCL approves applications to obtain registrant information to
10
11   support disputes over .nz domain name disputes or to obtain information about the inquirer’s
12
13   own .nz domain registrations. DNCL offers no automatic function whereby the public may
14
15   search for a registrant’s name, phone number, email address, or physical address to obtain .nz
16
17   WHOIS information.
18
19            30.   The vast majority of WHOIS queries are sent through Port 43. In a typical month,
20
21   over 10 million .nz WHOIS queries are performed, of which less than 1% are conducted using
22
23   the DNCL website.
24
25            31.   WHOIS data is commonly used to determine the availability of domain names.
26
27   Because WHOIS data includes information regarding the registrant of a domain name, it may
28
29   also be used to help combat spam or fraud, identify trademark infringers, and enhance
30
31   accountability of domain name registrants. In addition, WHOIS data can be used to identify and
32
33   locate domain name registrants who may be posting illegal content or engaging in phishing
34
35   scams.
36
37            32.   To prevent abuse of the .nz WHOIS service, DNCL provides WHOIS data in
38
39   response to a WHOIS query pursuant to the terms and conditions of the TOU. Specifically, the
40
41   TOU provide:
42
43                  Terms of Use: By submitting a WHOIS query you are entering
44                  into an agreement with Domain Name Commission Ltd on the
45                  following terms and conditions, and subject to all relevant .nz
46                  Policies and procedures as found at https://dnc.org.nz/. It is
47                  prohibited to:
48
49                  - Send high volume WHOIS queries with the effect of
50                  downloading part of or all of the .nz Register or collecting register
51                  data or records;
                                                                                       Perkins Coie LLP
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 1                   - Access the .nz Register in bulk through the WHOIS service (ie.
 2                   where a user is able to access WHOIS data other than by sending
 3                   individual queries to the database);
 4
 5                   - Use WHOIS data to allow, enable, or otherwise support mass
 6                   unsolicited commercial advertising, or mass solicitations to
 7                   registrants or to undertake market research via direct mail,
 8                   electronic mail, SMS, telephone or any other medium; . . .
 9
10                   - Use WHOIS data in contravention of any applicable data and
11                   privacy laws, including the Unsolicited Electronic Messages Act
12                   2007;
13
14                   - Store or compile WHOIS data to build up a secondary register of
15                   information;
16
17                   - Publish historical or non-current versions of WHOIS data; and
18
19                   - Publish any WHOIS data in bulk.
20
21          33.      The TOU were last updated on June 26, 2016. Before that period, the TOU
22
23   provided:
24
25                   Users are advised that the following activities are strictly
26                   forbidden.
27
28                   Using multiple WHOIS queries, or using the output of multiple
29                   WHOIS queries in conjunction with any other facility or service, to
30                   enable or effect a download of part or all of the .nz Register.
31
32                   Using any information contained in the WHOIS query output to
33                   attempt a targeted contact campaign with any person, or any
34                   organisation, using any medium.
35
36                   A breach of these conditions will be treated as a breach of the .nz
37                   Policies and Procedures. Sanctions in line with those specified in
38                   the policies and procedures at www.dnc.org.nz may result from
39                   any breach.
40
41          34.      When a user searches for a domain on the DNCL website, the TOU are shown at
42
43   the bottom of the results page. An exemplar screenshot of how the DNCL website displays the
44
45   WHOIS results page, including the TOU, is attached to this Complaint as Exhibit 2.
46
47          35.      When a user searches for a domain through the Port 43 WHOIS service, the TOU
48
49   are displayed above the WHOIS data. An exemplar screenshot showing how the TOU are
50
51
                                                                                         Perkins Coie LLP
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 1   displayed in response to a WHOIS query through Port 43 is attached to this Complaint as
 2
 3   Exhibit 3.
 4
 5          36.     Use of the .nz WHOIS service, whether through the DNCL website or through
 6
 7   Port 43, indicates agreement to these TOU. The TOU are displayed every time a query is
 8
 9   submitted, meaning that ongoing and continuous use of the .nz WHOIS service establishes actual
10
11   knowledge of and agreement to the TOU.
12
13          37.     The DNCL website includes a page, available at https://www.dnc.org.nz/whois,
14
15   explaining that .nz domain name registration information can be searched by domain name (a
16
17   screenshot of this page is attached as Exhibit 4 to this Complaint). That page further explains
18
19   that “[t]he ability to search for” .nz domain name registration “information is referred to as a
20
21   domain name registration query (‘Query’) or a domain name search,” and that “[b]y performing
22
23   a ‘Query,’ you are also agreeing to be bound by the Terms of Use of the service.”
24
25          38.     In addition to but independent of the TOU, DNCL has implemented extensive
26
27   automated rate limiting to prevent bulk harvesting of .nz WHOIS data. The rate limiting
28
29   operates both for individual IP addresses and for aggregate blocks of IP addresses using multiple
30
31   methods of aggregation. On the basis of this rate limiting, the .nz WHOIS servers typically have
32
33   blocked between 40 million to 80 million WHOIS queries per month.
34
35          39.     Nonetheless, rate limiting based on IP addresses can be evaded by using cloud
36
37   services to run multiple simultaneous queries from a wide range of IP addresses.
38
39          40.     Due to these increasing concerns about bulk harvesting of .nz WHOIS registrant
40
41   data, since April 20, 2018, information that identifies .nz domain name registrants or
42
43   administrative or technical contacts is no longer being offered through Port 43.
44
45   D.     Registrant Privacy and the.nz Individual Registrant Privacy Option
46
47          41.     Registrants around the world have become increasingly concerned about their
48
49   personal information, especially their personal contact information, being publicly available
50
51   through WHOIS. As a result, ICANN, registries, and registrars have begun taking steps to
                                                                                       Perkins Coie LLP
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 1   provide registrants with enhanced choice and control over the public disclosure of their personal
 2
 3   information.
 4
 5          42.     More recently, in relation to the European Union’s General Data Protection
 6
 7   Regulation, in a letter dated December 6, 2017, the Article 29 Data Protection Working Party
 8
 9   expressed its view that “public access to the Whois data in its current form goes beyond” the
10
11   legitimate purpose for WHOIS services. ICANN responded in March 2018 by issuing a
12
13   “cookbook” describing an interim model intended to comply with EU privacy law.
14
15          43.     In New Zealand, InternetNZ and DNCL have long been attuned to registrant
16
17   privacy and safety concerns and the tension between the need to provide choice and control over
18
19   their personal information to individual registrants and the benefits of public availability of
20
21   WHOIS data.
22
23          44.     For example, it is important that .nz domain name registrants be identifiable to
24
25   ensure accountability and that they can be quickly contacted in cases of harm. Bad actors can
26
27   and do use domain names to attack, harass, or scam other people. There is a benefit in the public
28
29   being able to see who is behind a domain name to verify the trustworthiness of.nz websites or
30
31   email addresses, or to increase consumer confidence when online trade is involved. In addition,
32
33   WHOIS provides a valid and valuable tool for those who have protection and legal rights to
34
35   enforce. And if a website is hacked, the WHOIS information can be used to inform the owner
36
37   that their interests are being compromised. There is benefit in being able to identify domain
38
39   name contact details promptly, particularly where harm is occurring.
40
41          45.     At the same time, there is increasing awareness of the sanctity of privacy in the
42
43   online world. Surveys conducted for the New Zealand Office of Privacy Commissioner have
44
45   highlighted that many individuals in New Zealand are concerned about the privacy of their
46
47   online information. In particular, many people are concerned about the privacy implications of
48
49   having their contact details publicly visible.
50
51
                                                                                       Perkins Coie LLP
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 1          46.     Around October and November 2015, DNCL conducted its first public
 2
 3   consultation about why registrant personal data should or should not be collected and made
 4
 5   accessible through a WHOIS search. Specifically, DNCL sought and obtained input from the
 6
 7   New Zealand Internet community about why .nz registrant data should or should not be
 8
 9   collected; why that data should or should not be made publicly available; why the display and
10
11   availability of .nz registrant data should or should not be the same for all parties; and whether
12
13   there were any concerns about the current approach.
14
15          47.     DNCL conducted its second public consultation around January 2016. For the
16
17   second consultation, DNCL asked for and obtained input from the New Zealand Internet
18
19   community about whether the full range of .nz WHOIS data—which included registrant contact
20
21   name and contact details, admin contact name and contact details, technical contact name and
22
23   contact details, domain name details, name servers, and registrar information—should continue
24
25   to be provided in response to a WHOIS search. In addition to receiving written submissions,
26
27   DNCL held public meetings online and in person in Christchurch, Auckland, and Wellington.
28
29          48.     In June 2016, DNCL held a third public consultation requesting input on a
30
31   proposed change that would allow individual registrants to have their details withheld from
32
33   publication under certain circumstances, such as where their personal safety may be at risk if
34
35   their contact details were displayed. This proposal was based on the mix of submissions
36
37   received during the two earlier consultations: the submissions largely supported making
38
39   registrant details publicly available in response to WHOIS searches, but also raised some
40
41   concerns about registrant privacy and security. DNCL received written submissions ranging
42
43   from those saying no information should be made public, to supporting the proposed privacy
44
45   process, to supporting the status quo, and many options in between.
46
47          49.     DNCL held a fourth public consultation in October and November 2016, which
48
49   sought and obtained input on a new proposal, in which a registrant who declared he or she was
50
51   an individual would automatically have his or her contact address and telephone number
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 1   information withheld from public WHOIS data. The consultation also sought input on whether
 2
 3   to include geography with name and email information in the publicly available WHOIS data.
 4
 5           50.     The fifth and final consultation was held between March and May 2017, which
 6
 7   sought and obtained input on proposed changes that would (1) provide individual registrants who
 8
 9   do not use the domain name to a significant extent in trade with the option of withholding their
10
11   telephone number and address information from public WHOIS data, and (2) define a process for
12
13   requesting the withheld information if a legitimate need is established.
14
15           51.     Based on this extensive consideration and solicitation of input from the New
16
17   Zealand Internet community, on November 28, 2017, DNCL launched the Individual Registrant
18
19   Privacy Option (“IRPO”). Since March 28, 2018, all authorized .nz registrars have been required
20
21   to offer registrants the ability to apply for the IRPO.
22
23           52.     The IRPO is available to individual registrants of .nz domain names who do not
24
25   use their licensed domain name for significant trade. A registrant may apply for the IRPO
26
27   through his or her authorized .nz registrar at the time of registering the domain name or at any
28
29   later time. If a registrant is eligible, his or her telephone number and address (“Withheld Data”)
30
31   will be withheld from the public WHOIS record and not displayed. The public WHOIS record
32
33   will still include his or her other contact information, including name, email, and country. In
34
35   addition, the registrant is still responsible for providing true and correct registration details,
36
37   including email, phone, and address contact information.
38
39           53.     Even if an individual registrant has opted into the IRPO, that individual’s
40
41   Withheld Information may nonetheless be disclosed if an entity can establish a legitimate need
42
43   for access, both on a one-off and an on-going basis. For entities that have a legitimate need for
44
45   ongoing access to Withheld Information, DNCL will enter Memorandums of Understanding with
46
47   those entities that will facilitate either streamlined or automatic access to the Withheld
48
49   Information or historical records. To ensure it provides appropriate transparency into access and
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                                                                                          Perkins Coie LLP
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 1   disclosure of individuals’ Withheld Information, DNCL will post the MOUs on its website,
 2
 3   notify the registrant of the access as soon as practicable, and publish transparency reports.
 4
 5          54.     DNCL entered into its first such MOU on June 8, 2018, with the Computer
 6
 7   Emergency Response Team (CERT) (which forms part of the Ministry of Business, Innovation
 8
 9   and Employment).
10
11          55.     Accordingly, the IRPO uses a carefully balanced process through which
12
13   registrants can protect their private information while public authorities can still obtain that
14
15   information for legitimate reasons.
16
17          56.     DNCL implemented the IRPO to allow registrants to control and protect their
18
19   private information in recognition of the significant privacy and safety concerns of many .nz
20
21   domain name holders.
22
23          57.     Since November 28, 2017 over 11,000 domain names have successfully enrolled
24
25   in the IRPO, establishing the importance of privacy options to .nz domain registrants. For
26
27   context, this comprises approximately 1.5% of all domain name registrations (in total there are
28
29   approximately 710,000 active.nz domain names), including organizations and individuals who
30
31   conduct significant trade using their domain names and therefore are ineligible for the IRPO.
32
33          58.     By combining availability of the IRPO with strict enforcement of the TOU,
34
35   DNCL empowers many individual .nz registrants to withhold their personal contact information
36
37   altogether. This is because the information is neither presently available nor re-creatable through
38
39   historical records held by third parties.
40
41                               V.      DOMAINTOOLS’S ACTIVITIES
42
43   A.     DomainTools’s Products and Services
44
45          59.     DomainTools offers a variety of products and services that it markets to security
46
47   analysts and government agencies as a tool to fight security risks. DomainTools touts its
48
49   products and services on its website:
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51
                                                                                        Perkins Coie LLP
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35
     DomainTools, About Us, https://www.domaintools.com/company/ (last visited June 14, 2018).
36
37
            60.    Upon information and belief, DomainTools’s products and services rely
38
39
     extensively on WHOIS data, including vast quantities of non-current, historical WHOIS records.
40
41
     For example, DomainTools’s website states that “Our solutions are comprised of over 15 years
42
43
     of data, which include Whois records, passive DNS data, related screenshots, IP addresses,
44
45
     hosting data, name servers, and other DNS data.”
46
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                                                                                    Perkins Coie LLP
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18   DomainTools, Products Overview, https://www.domaintools.com/products/ (last visited June 14,
19
20   2018).
21
22            61.   DomainTools markets its services using the size and claimed coverage of its
23
24   database of WHOIS records. A video on DomainTools’s website states that DomainTools
25
26   maintains “the world’s largest database of WHOIS, DNS, and related data.” And
27
28   DomainTools’s blog states that:
29
30                  DomainTools works tirelessly to build the world’s best database of
31                  Whois records, with coverage spanning all of the ccTLDs and each
32                  new gTLD as it comes online—not to mention the “big six” TLDs:
33                  com, net, org, biz, info, and us. We believe we have reason to
34                  claim that our coverage is unparalleled.
35
36   DomainTools Blog, What’s Better than the World’s Best Whois Data? The World’s Best
37
38   PARSED Whois Data!, https://blog.domaintools.com/2014/08/whats-better-than-the-worlds-best-
39
40   whois-data-the-worlds-best-parsed-whois-data/ (last visited June 14, 2018).
41
42            62.   Several of DomainTools services rely on both current and historic WHOIS data,
43
44   including .nz WHOIS data.
45
46            63.   For example, DomainTools offers to the public its own, free “Whois Lookup” tool
47
48   at https://whois.domaintools.com. The Whois Lookup results page available to the public
49
50   includes a complete copy of the Whois Record, as it appears at the time of the lookup.
51
                                                                                    Perkins Coie LLP
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 1          64.     Upon information and belief, when a query for a .nz domain name is entered on
 2
 3   the DomainTools Whois Lookup tool, DomainTools automatically obtains the WHOIS record
 4
 5   from the Port 43 WHOIS service, posts that information in its results page, and saves that
 6
 7   WHOIS record in its database as a historical WHOIS record. Notably, although DomainTools
 8
 9   does not appear to make any other changes to the WHOIS record obtained from DNCL, it strips
10
11   the TOU out of the WHOIS record before displaying it in response to a search for a .nz domain.
12
13   An exemplar screenshot of this results page is attached to this Complaint as Exhibit 5.
14
15          65.     Upon information and belief, DomainTools uses a distributed network of IP
16
17   addresses from all over the world to query the .nz WHOIS service on Port 43. Upon information
18
19   and belief, DomainTools uses this distributed network of global IP addresses to conceal its
20
21   violation of the TOU, evade the .nz WHOIS rate limiting protocols, and enable DomainTools to
22
23   execute a high volume of queries without being blocked, with the purpose of obtaining WHOIS
24
25   records for most if not all domain names in the .nz Registry.
26
27          66.     According to DomainTools advertising, it provides its paying customers with
28
29   additional information on the results page for a domain name search on the DomainTools Whois
30
31   Lookup tool. For example, DomainTools provides information about how many other domains
32
33   are associated with the same domain registrant and how many historical WHOIS records
34
35   DomainTools maintains for that domain name. DomainTools calls these services “Reverse
36
37   Whois” and “Whois History,” respectively.
38
39          67.     DomainTools’s “Reverse Whois” tool allows the user to search for a “unique
40
41   identifier” such as an individual’s name or a company’s name, phone number, email address, or
42
43   physical address and obtain a list of all domain names linked to that person or organization. This
44
45   tool allows the user to obtain extensive WHOIS information based on an individual’s identity,
46
47   rather than based on an individual domain. Upon information and belief, DomainTools provides
48
49   this service by maintaining and querying a database similar to a domain registry that associates
50
51   registrants with the registration information for the domain names they license.
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 1          68.     DomainTools’s “Whois History” tool “allows DomainTools members to access
 2
 3   historical Whois records. Since 1995, DomainTools has been tracking the Whois history of
 4
 5   millions of domains. These records are maintained in the DomainTools database and available
 6
 7   to Subscription Members.” DomainTools, Whois History,
 8
 9   http://research.domaintools.com/research/whois-history/ (last visited June 14, 2018).
10
11          69.     When a customer searches for a domain through the Whois History tool,
12
13   DomainTools provides a display allowing the customer to access all historical WHOIS records
14
15   that DomainTools has obtained and stored for that domain. The Whois History page even
16
17   highlights the dates on which something changed in the Whois record. In addition, the Whois
18
19   History page allows customers to filter historical Whois records using, for example, “a whole or
20
21   partial registrant name, organization name, physical address, [or] phone number.” DomainTools,
22
23   Whois History User Guide, https://www.domaintools.com/ resources/user-guides/whois-history/
24
25   (last visited June 14, 2018).
26
27          70.     DomainTools advertises that its Whois History page displays “[a] symbol . . . next
28
29   to the date to indicate records where Whois privacy was used,” which allows the user “to quickly
30
31   scan the timeline to find a time when a domain was not protected under Whois privacy controls.”
32
33   DomainTools, Whois History User Guide, https://www.domaintools.com/resources/user-
34
35   guides/whois-history/ (last visited June 14, 2018). The video associated with Whois History
36
37   states that “sometimes it’s very important to spot records where there is no Whois privacy in
38
39   place. This can be one of the most important ways to discover who is or was behind a domain.”
40
41          71.     In addition, members of the public can purchase a “Domain Report,” which
42
43   allows customers to simultaneously access all information that DomainTools maintains about a
44
45   particular domain—including both the current and all historical WHOIS records. Specifically,
46
47   DomainTools advertises:
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21
22   DomainTools, DomainReport, http://domainreport.domaintools.com/ (last visited June 14, 2018).
23
24   B.     DomainTools’s Activities Violate the .nz WHOIS Terms of Use and Other Laws,
25          and Undermine the Privacy of Individual Registrants
26
27          72.     DomainTools has violated the TOU, circumventing technical controls, querying
28
29   the .nz registry in bulk, retaining historical WHOIS records, and creating a secondary registry so
30
31   that it can sell registrants’ private information to DomainTools’s paying customers.
32
33          73.     Specifically, upon information and belief, DomainTools conducts a high volume
34
35   of queries through the .nz WHOIS Port 43 service to populate its database of current and
36
37   historical WHOIS records. In doing so, DomainTools has violated and continues to violate the
38
39   provisions of the Terms of Use that prohibit “[s]end[ing] high volume WHOIS queries with the
40
41   effect of downloading part or all of the .nz Register or collecting register data or records” and
42
43   “[a]ccess[ing] the .nz Register in bulk through the WHOIS service (i.e., where a user is able to
44
45   access WHOIS data other than by sending individual queries to the database).”
46
47          74.     In addition, DomainTools’s activities violated the previous version of the Terms
48
49   of Use, which prohibited “[u]sing multiple WHOIS queries, or using the output of multiple
50
51   WHOIS queries in conjunction with any other facility or service, to enable or effect a download
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 1   of part or all of the .nz Register.” In particular, DomainTools’s website indicates that it has
 2
 3   WHOIS records for approximately 665,280 .nz domains, which comprises approximately 94% of
 4
 5   the total number of .nz domain names (just under 710,000).
 6
 7          75.       Upon information and belief, DomainTools maintains a database of WHOIS
 8
 9   records, including .nz WHOIS records obtained through the .nz WHOIS Port 43 Service, that
10
11   associates .nz domain names with registration information. DomainTools then relies upon this
12
13   database to allow users to search for WHOIS information using a registrant’s name or contact
14
15   information, including information that the registrant may have chosen to withhold, not only the
16
17   domain name as is typical for WHOIS services. In doing so, DomainTools has violated and
18
19   continues to violate the provision of the Terms of Use that prohibits “[s]tor[ing] or compil[ing]
20
21   WHOIS data to build up a secondary register of information.”
22
23          76.       DomainTools makes available to the public for a fee all historical WHOIS records
24
25   that it has obtained for a domain, including .nz domains. In doing so, DomainTools has violated
26
27   and continues to violate the provision of the Terms of Use that prohibits “[p]ublish[ing]
28
29   historical or non-current versions of WHOIS data.”
30
31          77.       DomainTools sells to its customers access to substantially all of the .nz WHOIS
32
33   records that it has accumulated and allowing them to search those records in bulk through its
34
35   Reverse Whois and Whois History services. In doing so, DomainTools has violated and
36
37   continues to violate the provision of the Terms of Use that prohibits “publish[ing] any WHOIS
38
39   data in bulk.”
40
41          78.       Registrars in the United States have expressed similar concerns with the methods
42
43   that DomainTools has used and continues to use to access WHOIS data, and the amount of
44
45   WHOIS data that DomainTools makes available to the public.
46
47
48
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 1   C.     DomainTools’s Unlawful Activity Harms DNCL
 2
 3          79.     DomainTools’s unlawful activities as described in Paragraphs 59-77 above have
 4
 5   already caused and continue to cause irreparable harm to DNCL and to individual .nz domain
 6
 7   name registrants.
 8
 9          80.     DomainTools’s activities have damaged and continue to damage DNCL’s
10
11   integrity and reputation in the New Zealand Internet community due to loss of goodwill from
12
13   individual registrants who license .nz domain names. Specifically, DNCL represents and assures
14
15   individual .nz domain names that if they successfully apply for the Individual Registrant Privacy
16
17   Option, their detailed contact information will be withheld from public view and made available
18
19   only pursuant to a rigorous process to entities that can establish a legitimate need for that
20
21   information. DomainTools has never sought to enter into a Memorandum of Understanding with
22
23   DNCL establishing a legitimate need for the information that individual registrants have chosen
24
25   to withhold from public view. Yet DomainTools’s activities make individual registrants’
26
27   withheld personal data available to the public for a fee by providing historical WHOIS records,
28
29   which may include those registrants’ detailed personal contact information, even after an
30
31   individual registrant has exercised his or her option to withhold that information from the public.
32
33          81.     In addition, individual registrants of .nz domain names have expectations of
34
35   privacy based on New Zealand law providing certain statutory privacy rights to individuals.
36
37   DNCL’s Terms of Use for the .nz WHOIS service protect individuals’ privacy rights.
38
39   DomainTools’s violations of DNCL’s Terms of Use frustrate these individuals’ privacy rights
40
41   and cause further harm to registrant good will and to DNCL’s reputation and integrity.
42
43          82.     By interfering with the Individual Registrant Privacy Option, DomainTools’s
44
45   activities also interfere with DNCL’s mission and contractual obligations, and have diverted and
46
47   continue to divert DNCL resources away from its core organizational mission.
48
49          83.     DomainTools’s unlawful activities are also preventing DNCL from providing its
50
51   services in accordance with the TOU and IRPO implemented in response to privacy and safety
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 1   concerns raised by the .nz Internet community. DNCL therefore is being thwarted in its ability
 2
 3   to offer its services in accordance with the TOU, to implement policies supported by the people
 4
 5   and businesses of New Zealand and other .nz registrants, and to honor individual registrants’
 6
 7   choice to protect the privacy of their personal information.
 8
 9          84.     By issuing high-volume queries to the .nz WHOIS service, DomainTools is also
10
11   taxing the .nz WHOIS servers, disrupting network transmissions, and otherwise interfering with
12
13   technical infrastructure.
14
15          85.     The harms caused by DomainTools’s unlawful activities are not mitigated or
16
17   balanced by any value provided through DomainTools’s services. The customers who would
18
19   seek to use DomainTools services to obtain information about .nz domains could, in the
20
21   alternative, obtain current .nz WHOIS information that is freely available through DNCL’s
22
23   website, save for personal information that individual registrants have chosen to withhold
24
25   pursuant to the IRPO. In addition, when appropriate, historical and withheld .nz WHOIS
26
27   information is available through special request (either for one-time or for ongoing access) at
28
29   https://dnc.org.nz/irpo/access.
30
31          86.     In addition, the information regarding .nz registrants available through DNCL is
32
33   more current and accurate than that available through DomainTools, which continues to publish
34
35   historical (and therefore potentially outdated) information. DomainTools’s customers, including
36
37   law enforcement and other public interest organizations, would receive more accurate .nz
38
39   WHOIS information (for free and without violating the TOU) through DNCL.
40
41   D.     DNCL’s Efforts to Stop DomainTools’s Unlawful Activity
42
43          87.     DNCL has sought to get DomainTools to cease and desist its unlawful activities
44
45   and to stop harming DNCL and .nz registrants without the need for litigation.
46
47          88.     On November 2, 2017, counsel for DNCL sent a cease and desist letter to
48
49   DomainTools explaining that DNCL had become aware that DomainTools was accessing and
50
51   querying .nz WHOIS servers, downloading .nz WHOIS data, storing a vast database of historical
                                                                                      Perkins Coie LLP
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 1   WHOIS records, and re-publishing that data through its “Whois History” and “Reverse Whois”
 2
 3   products, and that DomainTools’s activities were violating the Terms of Use and other laws.
 4
 5   The letter demanded that DNCL immediately desist accessing .nz WHOIS servers or using and
 6
 7   publishing .nz WHOIS data except as permitted by the Terms of Use. A copy of this letter is
 8
 9   attached to this Complaint as Exhibit 6.
10
11          89.     Although the cease and desist letter demanded a response by November 15, 2017,
12
13   DNCL extended the response period at the request of counsel for DomainTools in hopes of
14
15   obtaining DomainTools compliance without litigation. Accordingly, it was not until February 7,
16
17   2018, that DomainTools responded to DNCL’s cease and desist letter. A copy of DomainTools’s
18
19   response is attached to this Complaint as Exhibit 7.
20
21          90.     The parties then engaged in settlement discussions, including an in-person
22
23   meeting in Seattle, Washington, on March 20, 2018. On April 22, 2018, those settlement
24
25   discussions concluded without any agreement by DomainTools that it would cease its violation
26
27   of the TOU and other applicable laws or its abuse of the WHOIS service offered by DNCL.
28
29          91.     DNCL sent a final cease and desist letter to DomainTools on June 6, 2018, finally
30
31   and, pursuant to its right to “remove or limit any party’s access to the Query service on a
32
33   permanent or temporary basis,” see Exhibit 3 at Section 21.4.1, completely revoked
34
35   DomainTools’s license to use the .nz WHOIS service due to its ongoing breach of the terms
36
37   governing use of that service. A copy of this letter is attached to this Complaint as Exhibit 8.
38
39   DomainTools has continued to send queries to the .nz WHOIS service.
40
41                                    VI.       CAUSES OF ACTION
42
43                                    FIRST CAUSE OF ACTION
44                                       (Breach of Contract)
45
46          92.     DNCL realleges and incorporates by reference, as if fully set forth herein, the
47
48   allegations in paragraphs 1-91 above.
49
50
51
                                                                                      Perkins Coie LLP
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 1          93.     A claim for breach of contract requires showing (1) the defendant entered into a
 2
 3   contract, (2) the terms of the contract, (3) that the defendant breached the duties imposed by the
 4
 5   contract, and (4) the plaintiff was damaged.
 6
 7          94.     By using the .nz WHOIS service, DomainTools entered into a contract with
 8
 9   DNCL requiring DomainTools to abide by the TOU in exchange for DNCL providing the
10
11   WHOIS data.
12
13          95.     DomainTools had actual notice of the TOU because it made repeated, ongoing,
14
15   and continuous requests to the .nz WHOIS service through Port 43. Each of these requests
16
17   received a response containing the TOU above the WHOIS data.
18
19          96.     Since 26 June 2016, the TOU have provided that it is prohibited to, among other
20
21   things, (1) send high volume WHOIS queries with the effect of downloading part of or all of the
22
23   .nz Register or collecting register data or records; (2) access the .nz Register in bulk through the
24
25   WHOIS service (ie. where a user is able to access WHOIS data other than by sending individual
26
27   queries to the database); (3) store or compile WHOIS data to build up a secondary register of
28
29   information; (4) publish historical or non-current versions of WHOIS data; and (5) publish any
30
31   WHOIS data in bulk. The previous TOU provided that it is prohibited to, among other things,
32
33   use multiple WHOIS queries, or use the output of multiple WHOIS queries in conjunction with
34
35   any other facility or service, to enable or effect a download of part or all of the .nz Register.
36
37          97.     DomainTools has breached and continues to breach these provisions of the TOU
38
39   by engaging in the conduct alleged in Paragraphs 59-77 above and other activities.
40
41          98.     DNCL has been damaged by DomainTools’s activities as described in Paragraphs
42
43   59-77 above, in that DNCL has experienced loss of goodwill from individual registrants, harm to
44
45   its reputation and integrity in the .nz Internet community, and interference with its mission and
46
47   other contractual relationships.
48
49
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51
                                                                                         Perkins Coie LLP
     COMPLAINT (NO. __________) – 24                                                1201 Third Avenue, Suite 4900
                                                                                      Seattle, WA 98101-3099
                                                                                        Phone: 206.359.8000
                                                                                         Fax: 206.359.9000
              Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 25 of 61




 1                                SECOND CAUSE OF ACTION
 2             (Violations of Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(5)(C))
 3
 4           99.     DNCL realleges and incorporates by reference, as if fully set forth herein, the
 5
 6   allegations in paragraphs 1-98 above.
 7
 8           100.    A claim for violation of the Computer Fraud and Abuse Act, 18 U.S.C.
 9
10   § 1030(a)(5)(C), requires showing that the defendant intentionally accessed a protected computer
11
12   without authorization, and as a result of such conduct, caused damage and loss; and that the
13
14   plaintiff suffered damage or loss from the violation aggregating to at least $5,000 in value over a
15
16   one-year period.
17
18           101.    DomainTools was authorized to access the .nz WHOIS servers and the WHOIS
19
20   service only if it complied with the TOU. DomainTools was expressly not authorized to access
21
22   the .nz WHOIS servers and the WHOIS service in violation of the TOU. Indeed, DomainTools
23
24   even employed technical measures to evade IP blocking and IP rate limiting.
25
26           102.    In addition, because of its continuous and ongoing violation of the TOU, DNCL
27
28   revoked altogether DomainTools’s limited license to access and use the .nz WHOIS on June 6,
29
30   2018.
31
32           103.    DomainTools has continued to access the .nz WHOIS servers without
33
34   authorization and thereby obtain .nz WHOIS data from those servers.
35
36           104.    The computers and servers that provide the .nz WHOIS servers are used in
37
38   interstate and foreign commerce and communication, and DomainTools’s conduct involved
39
40   interstate commerce and communication.
41
42           105.    As a result of DomainTools’s actions, DNCL has suffered loss in an amount far in
43
44   excess of the $5,000 statutory minimum, during each relevant one-year period, in an amount to
45
46   be proved at trial.
47
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                                                                                      Perkins Coie LLP
     COMPLAINT (NO. __________) – 25                                             1201 Third Avenue, Suite 4900
                                                                                   Seattle, WA 98101-3099
                                                                                     Phone: 206.359.8000
                                                                                      Fax: 206.359.9000
              Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 26 of 61




 1                                 THIRD CAUSE OF ACTION
 2           (Violations of Washington Consumer Protection Act, RCW 19.86.020 et seq.)
 3
 4          106.    DNCL realleges and incorporates by reference, as if fully set forth herein, the
 5
 6   allegations in paragraphs 1-105 above.
 7
 8          107.    A claim under the Washington Consumer Protection Act requires showing (1) an
 9
10   unfair or deceptive act or practice; (2) occurring in trade or commerce; (3) with a public interest
11
12   impact; (4) causing; (5) injury to plaintiff in its business or property.
13
14          108.    DomainTools’s activities as alleged above were willful and malicious, and
15
16   constitute unfair or deceptive acts or practices in violation of RCW 19.86.020 et seq.
17
18          109.    DomainTools has engaged in these unfair acts or practices for purposes of selling
19
20   private registrant information obtained in violation of the TOU in the form of its products and
21
22   services in trade or commerce.
23
24          110.    The public is integrally involved in this private dispute because it involves
25
26   DomainTools’s unfair acts and practices depriving consumers, including residents of
27
28   Washington state, of the opportunity to choose and control the use and disclosure of their
29
30   personal, private information.
31
32          111.    DomainTools’s unfair acts and practices have caused DNCL to suffer injury in its
33
34   business and property, including harm to its reputation and integrity and loss of goodwill from
35
36   individual .nz domain name registrants, in an amount to be proved at trial.
37
38          112.    Accordingly, pursuant to RCW 19.86.090, DNCL is entitled to injunctive relief,
39
40   actual and trebled damages, attorney’s fees, and costs of suit.
41
42
43
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                                                                                        Perkins Coie LLP
     COMPLAINT (NO. __________) – 26                                               1201 Third Avenue, Suite 4900
                                                                                     Seattle, WA 98101-3099
                                                                                       Phone: 206.359.8000
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              Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 27 of 61




 1                                     VII.   PRAYER FOR RELIEF
 2
 3          WHEREFORE, DNCL prays for the following relief:
 4
 5          A.      Declaratory relief as to each of the above causes of action;
 6
 7          B.      Preliminary and permanent injunctive relief, including that DomainTools and its
 8
 9   agents, services, employees and all persons in active concert or participation with it, be enjoined
10
11   and restrained during the pendency of this action and perpetually from:
12
13                  (1)     Accessing the .nz Register so long as its limited license remains revoked;
14
15                          or, in the alternative, sending automated, high-volume WHOIS queries
16
17                          and accessing the .nz Register in bulk;
18
19                  (2)     Storing or compiling .nz WHOIS data in its own database;
20
21                  (3)     Publishing information that has been withheld pursuant to the IRPO;
22
23                  (4)     Publishing historical versions of .nz WHOIS data through its various
24
25                          services; and
26
27                  (5)     Publishing .nz WHOIS data in bulk through its various services.
28
29          C.      An order requiring DomainTools to delete all historical .nz WHOIS records
30
31   obtained and stored by DomainTools in violation of the .nz WHOIS Terms of Use;
32
33          D.      For judgment in favor of plaintiff, and against defendant, for damages in such
34
35   amounts as may be proven at trial, including treble damages under the Washington Consumer
36
37   Protection Act;
38
39          E.      For judgment against defendant for plaintiff’s costs of suit, including plaintiff’s
40
41   reasonable attorney’s fees; and
42
43          F.      For such other relief as the Court may deem just and proper.
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                                                                                        Perkins Coie LLP
     COMPLAINT (NO. __________) – 27                                               1201 Third Avenue, Suite 4900
                                                                                     Seattle, WA 98101-3099
                                                                                       Phone: 206.359.8000
                                                                                        Fax: 206.359.9000
             Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 28 of 61




 1
 2   DATED this 15th day of June, 2018.     s/ Todd M. Hinnen
 3                                          s/ Erin K. Earl
 4                                          Todd M. Hinnen, WSBA No. 27176
 5
                                            Erin K. Earl, WSBA No. 49341
 6
                                            Perkins Coie LLP
 7
                                            1201 Third Avenue, Suite 4900
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                                            Seattle, WA 98101-3099
 9
                                            Telephone: 206.359.8000
10
                                            Facsimile: 206.359.9000
11
                                            Email: THinnen@perkinscoie.com
12
                                                      EEarl@perkinscoie.com
13
                                                      Attorneys for Plaintiff
14
                                            Domain Name Commission Limited
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                                                                       Perkins Coie LLP
     COMPLAINT (NO. __________) – 28                              1201 Third Avenue, Suite 4900
                                                                    Seattle, WA 98101-3099
                                                                      Phone: 206.359.8000
                                                                       Fax: 206.359.9000
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                        Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 30 of 61




[https://www.dnc.org.nz/resource-library/policies/1479 6/12/2018 2:54:48 PM]
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[https://www.dnc.org.nz/resource-library/policies/1479 6/12/2018 2:54:48 PM]
                         Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 32 of 61




[https://www.dnc.org.nz/resource-library/policies/1479 6/12/2018 2:54:48 PM]
                         Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 33 of 61




[https://www.dnc.org.nz/resource-library/policies/1479 6/12/2018 2:54:48 PM]
                         Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 34 of 61




[https://www.dnc.org.nz/resource-library/policies/1479 6/12/2018 2:54:48 PM]
                        Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 35 of 61




[https://www.dnc.org.nz/resource-library/policies/1479 6/12/2018 2:54:48 PM]
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[https://www.dnc.org.nz/resource-library/policies/1479 6/12/2018 2:54:48 PM]
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[https://www.dnc.org.nz/resource-library/policies/1479 6/12/2018 2:54:48 PM]
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                    Exhibit 2




                          -2-
                       Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 43 of 61




[https://www.dnc.org.nz/whois/search?domain_name=dnc.org.nz 6/12/2018 2:57:38 PM]
                      Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 44 of 61




[https://www.dnc.org.nz/whois/search?domain_name=dnc.org.nz 6/12/2018 2:57:38 PM]
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                    Exhibit 3




                          -3-
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                    Exhibit 4




                          -4-
                        Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 48 of 61




[https://www.dnc.org.nz/whois 6/12/2018 3:37:28 PM]
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                    Exhibit 5




                          -5-
                     Case 2:18-cv-00874-RSL Document 1 Filed 06/15/18 Page 50 of 61                                                                                                                                    RE SEA RC H




                  ~ D O MAI N T OO L S              PROFILE ...                                               ACQUIRE •      SUPPORT                                                                          l OGIN   11111
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                  - Domain Profile
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                    registrar_ city: We llington
                    registrar_ country: NZ (NEW ZEALAND)
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                                                                                                                                                                 information . (3rd party site)
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                                                                                                                                                                                                                   ViewWhois

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[http://whois.domaintools.com/dnc.org.nz 6/7/2018 11:03:18 AM]
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                    Exhibit 6




                          -6-
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                    Exhibit 7




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                                                                                Orrick, Herrington & Sutcliffe LLP
                                                                                701 Fifth Avenue
February 7, 2018                                                                Suite 5600
                                                                                Seattle, WA 98104-7097
                                                                                +1 206 839 4300
Via E-Mail
                                                                                orrick.com



Todd M. Hinnen                                                                  Aravind Swaminathan
Perkins Coie LLP
                                                                                E aswaminathan@orrick.com
1201 Third Avenue, Suite 4900                                                   D +1 206 839 4340
Seattle, WA 98101-3099                                                          F +1 206 839 4301


Re:     Cease and Desist Abuse of .nz WHOIS Data

Dear Todd:
        As you know, we represent DomainTools, LLC (“DomainTools”), and are writing to follow
up on Domain Name Commission Limited’s (“DNCL”) November 2, 2017 letter and
DomainTools’ December 1, 2017 letter regarding the .nz domains. First, thank you again for your
patience in awaiting our response.

       As we discussed, we want to emphasize that for more than 20 years, DomainTools has been
an important partner to many organizations that are focused on making the internet safer. As you
know, DomainTools provides network and cyber security solutions to a broad array of international
law enforcement agencies and more than 500 Enterprise customers, including customers in New
Zealand. DomainTools services are based, in part, on domain name ownership data. That
ownership data is critical in cyberattack attribution and attacker infrastructure mapping. It also plays
an important role for security analysts and in the development of threat intelligence.

      DomainTools does not believe that it has violated any laws, as described in your
November 2, 2017 letter—including, the Computer Fraud and Abuse Act, the Washington
Consumer Privacy Act, or any other state laws prohibiting trespass to chattels and conversion.

         Furthermore, DomainTools does not believe that it violates DNCL’s Terms of Use.
Notwithstanding, in the interest of reviewing its practices and considering DNCL’s expectations on
what is required for compliance with DNCL’s Terms of Use, it would be helpful to have a better
understanding of how DNCL interprets (1) “high volume” WHOIS queries and (2) “bulk” access of
the .nz Register. In particular, it would be useful to understand how DNCL defines these terms,
especially in the context of how other public entities access the same services and data that DNCL
makes available, in part because we understand that DNCL currently is reassessing how to reduce
the available data obtained about .nz domains through Port 43 WHOIS. See
https://dnc.org.nz/port-43. To be clear, it is not DomainTools’ intention to create a secondary
register of .nz domains or to publish the data to the public in bulk.
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Todd M. Hinnen
February 7, 2018
Page 2

        As we have offered in the past, DomainTools would prefer to have constructive
relationships with ccTLD registries, including DNCL. We look forward to hearing from you further
as outlined above. Please feel free to contact me if you have any questions regarding the foregoing.

Sincerely,




Aravind Swaminathan




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                    Exhibit 8




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June 6, 2018                                                                          Todd M. Hinnen
                                                                             THinnen@perkinscoie.com
                                                                                  D. +1.206.359.3384
                                                                                  F. +1.206.359.4384

VIA EMAIL

Jacob M. Heath
Aravind Swaminathan
Orrick, Herrington & Sutcliffe LLP
701 Fifth Avenue, Suite 5600
Seattle, WA 98104-7097

Re:    Cease and Desist Abuse of .nz WHOIS Data

Dear Jake and Aravind:

This letter renews the demand made by our client, Domain Name Commission Limited
(“DNCL”), in our letter of November 2, 2017 (the “November 2 Letter”), that your client,
DomainTools, LLC, immediately cease and desist its activities in violation of the Terms of Use
governing the .nz WHOIS servers.

As stated in the November 2 Letter, DomainTools’s previous access to the .nz WHOIS servers in
violation of the Terms of Use accompanying the limited license granted to .nz WHOIS users was
unauthorized. In light of DomainTools’s continuing unauthorized access, DNCL hereby
notifies DomainTools that its limited license to access the .nz WHOIS servers is revoked.
Accordingly, neither DomainTools nor its agents, employees, affiliates, or anyone acting on its
behalf may access the .nz WHOIS services for any reason whatsoever. DNCL will implement
additional available technical measures to prevent DomainTools from further accessing the .nz
WHOIS servers.

In addition, unless DomainTools confirms in writing by Wednesday, June 13, 2018, that it
has ceased its unlawful activities, DNCL intends to file a Complaint and seek injunctive
relief by no later than Friday, June 15, 2018.

We once again provide below additional details concerning DomainTools’ ongoing activities in
violation of the Terms of Use governing the .nz WHOIS servers.

A.     The .nz WHOIS Service

DNCL manages and administers the .nz domain name space and .nz Register. Public access to
the .nz Register is provided through .nz WHOIS servers. Users who submit queries to the .nz
WHOIS servers are bound by the .nz WHOIS Terms of Use (“TOU”), which are displayed in
response to every .nz WHOIS query. As explained in our November 2, 2017 letter, these TOU
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Aravind Swaminathan
Jacob M. Heath
June 6, 2018
Page 2


prohibit, among other things: (1) sending high volume WHOIS queries, (2) using the WHOIS
service to access the .nz Register in bulk, (3) storing and compiling WHOIS data to create a
secondary register of information, (4) publishing a historical or non-current version of WHOIS
data, and (5) publishing any WHOIS data in bulk.

DNCL respects individual registrants’ privacy and right to protect their personal information.
Accordingly, an individual registrant may elect not to have his or her telephone number and
address included in the public response to a .nz WHOIS domain registrant search. See Domain
Name Commission, Individual Registrant Privacy Option, https://www.dnc.org.nz/IRPO. The
TOU’s prohibition against publishing a historical or non-current version of WHOIS data protects
this important privacy and data protection right by preventing publication of historical WHOIS
records that include the telephone number and address that an individual registrant has chosen to
withhold, and by prohibiting the creation of a secondary register of information that could be
used to search for WHOIS records based on information that individual registrants have chosen
to withhold.

B.     Abuse of .nz WHOIS Data by DomainTools

DomainTools presents itself as offering informational services related to online domains,
including services called “Whois History,” “Reverse Whois,” and “Whois Lookup.” The
“Whois History” tool maintains a historical record of Whois records as they appeared over time.
See DomainTools, Whois History, https://research.domaintools.com/research/whois-history/.
This information is made available to the public through a “Domain Report,” which
DomainTools sells in exchange for $49. “Reverse Whois” allows the public to enter a name,
email address, physical address, or telephone number of a domain registrant and obtain a list of
domain names with those search terms listed in their Whois records. See DomainTools, Reverse
Whois, http://reversewhois.domaintools.com/. And when a user queries a .nz domain using
Whois Lookup, DomainTools provides certain information about that .nz domain, including a
“Whois Record” containing exactly the results of performing a command-line “whois” query on
.nz WHOIS Port 43 servers—but with the TOU removed. See DomainTools, Whois Lookup,
https://whois.domaintools.com.

DomainTools provides these services for .nz domains by querying the .nz WHOIS servers.
Accordingly, DomainTools is subject to the .nz WHOIS TOU. Yet these services, and
potentially others offered by DomainTools, violate the .nz WHOIS TOU and infringe
individual.nz registrants’ privacy and data protection rights. Indeed, based on input from the .nz
online community, the contact details of registrants, administrative contacts, or technical contacts
were recently removed from the information provided on the .nz WHOIS Port 43 servers
specifically to prevent the type of bulk harvesting of registrant data that DomainTools has been
conducting. In particular:
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Aravind Swaminathan
Jacob M. Heath
June 6, 2018
Page 3


       DomainTools stores and compiles .nz WHOIS data in its own database of domain
        information, associates .nz domain names with registrant information, and uses that
        database to provide its services. This conduct in and of itself violates the TOU, which
        prohibit storing and compiling WHOIS data to create a secondary register of information.
        DomainTools could only provide the Reverse Whois and Whois History services by
        creating and maintaining a secondary register of information. In addition, DomainTools’
        process for creating this secondary register further violates the TOU because creating this
        database requires DomainTools to send high volume WHOIS queries and use the WHOIS
        service to access the .nz Register in bulk.

       The Whois History tool violates the clear terms of the TOU by publishing historical or
        non-current versions of WHOIS data and publishing WHOIS data in bulk. Additionally,
        the Whois History tool infringes individual registrants’ privacy and data protection rights
        by publishing personal information that those registrants have chosen to withhold using
        the .nz Individual Registrant Privacy Option.

       The Reverse Whois tool infringes individual registrants’ privacy by allowing their
        personal information to be used to look up their registered domain names, even though
        they have chosen to withhold that personal information in response to WHOIS searches.
        Additionally, the Reverse Whois tool relies on the impermissible secondary register of
        WHOIS information created and maintained by DomainTools.

       The Whois Lookup tool sends high volume WHOIS queries, uses the WHOIS service to
        access the .nz Register in bulk, stores and compiles WHOIS data to create a secondary
        register of information, and publishes WHOIS data in bulk. Moreover, DomainTools
        uses a distributed network to submit these high-volume, bulk queries, apparently in an
        attempt to evade .nz WHOIS rate limiting protocols.

These, and perhaps other, DomainTools practices violate the .nz WHOIS TOU, infringe .nz
registrants’ privacy, and violate the federal Computer Fraud and Abuse Act (CFAA) and the
Washington Consumer Protection Act.

*****

As you know, DNCL has engaged with you in good faith since its letter of November 2, 2017,
yet DomainTools has declined to cease and desist its unlawful conduct. Accordingly, DNCL by
this letter revokes DomainTools’ limited license to access the .nz WHOIS servers. Unless we
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Aravind Swaminathan
Jacob M. Heath
June 6, 2018
Page 4


receive notice from DomainTools by Wednesday, June 13, 2018, that it has ceased and desisted
any access to the .nz WHOIS servers and services, we have been instructed by DNCL to assert
their rights and claims in court.

Sincerely,


Todd M. Hinnen
